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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                     Case No. 11-20129

SCOTT WILLIAM SUTHERLAND et al.

              Defendants.
                                                  /

UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                     Case No. 11-20066


JEFF GARVIN SMITH et al.,

              Defendants.
                                                  /

                            ORDER ON MOTION DEADLINE

       On January 30, 2014, the court conducted a telephonic conference on the record

in the above-captioned matters. Among other issues, counsel discussed with the court

the upcoming motion cutoff of February 28, 2014. The court clarified, on the record,

that the motion cutoff is intended to apply principally to the first group of Defendants,

currently scheduled for trial on April 15, 2014. Defendants in subsequent trial groups are

to receive motion cutoff dates when their trial dates are scheduled. The court urges all

Defendants, however, to consult with one another before filing motions which could be

universally applicable. Defendants should attempt to reduce expenditure of resources

by joining in those motions which they intend to bring in substantially similar form. The
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court does not intend to address more than once a motion fairly deemed to be

universally applicable. Therefore, when a later deadline arrives (for the second, third, or

fourth group), it may be the case that the court has already considered and ruled upon

an intended motion as the equivalent of it had been already filed by an earlier

defendant. In such case, even though the “deadline” for the later defendant had not

passed, his opportunity to be heard may have, in essence, lapsed.

       Defendants are reminded to follow the protocol set forth in previous orders of the

court, regarding seeking concurrence and providing hearing statements in motions.

(See Dkt. ## 518 & 613.)

       Defendants raised the question of —and problems with— late-arriving Rule 16

documentary information, and whether more is to be expected. It is the court’s

understanding that government counsel in that regard again recognized the duty to be

diligent for possible Brady and Giglio materials, and again assured other counsel and

the court that its efforts are ongoing in the gathering and examination of materials

received, as they are deemed appropriate for pretrial release in the form of Rule 16

disclosures.

       Defendants in the first trial group also indicated that they would soon be filing a

motion to adjourn all dates, given the ongoing issues they are experiencing in reviewing

the massive electronic discovery. Accordingly, and as agreed by Liaison Counsel for

Group One,




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           IT IS ORDERED that any motion to adjourn the first trial date and attendant

deadlines shall be filed by February 7, 2014.


                                                                  s/Robert H. Cleland
                                                                  ROBERT H. CLELAND
                                                                  UNITED STATES DISTRICT JUDGE
Dated: January 31, 2014

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, January 31, 2014, by electronic and/or ordinary mail.

                                                                  s/Lisa Wagner
                                                                  Case Manager and Deputy Clerk
                                                                  (313) 234-5522




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